              Case 3:05-cr-00491-VRW Document 325 Filed 02/08/07 Page 1 of 1



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     Attorneys for Plaintiff
9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                        SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,           )                 No.: CR 05 00491 VRW
13                                       )
           Plaintiff,                    )
14                                       )
           v.                            )               STIPULATION AND ORDER (PROPOSED)
15                                       )
     OLEG GLADSHTEYN,                    )
16                                       )
           Defendant.                    )
17   ____________________________________)
18      The matter is currently set for sentencing on Tuesday, February 27, 2007, at 10:30 a.m.
19   Because the presentence interview has not been completed, the parties ask that the sentencing be
20   continued to April 24, 2007, at 10:30 a.m. The probation officer does not object to the
21   continuance.
22   STIPULATED:
23              /s                                          /s
     LAUREL BEELER                                ANTHONY W. GIBBS
24   Assistant United States Attorney             Attorney for Oleg Gladshteyn
25      For good cause shown, the sentencing date of February 27, 2007, is vacated, and the Court
     sets a sentencing date of April 24, 2007, at 10:30 a.m.       S DISTRICT
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        IT IS SO ORDERED.
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27
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                                                     UNIT




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                                                  VAUGHN R. WALKER
                                                  United States District W
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                                                               Judge V
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     STIPULATION AND ORDER (Proposed)
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     (CR 05 00491 VRW)                                        ER
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